Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 1 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 2 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 3 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 4 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 5 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 6 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 7 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 8 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 9 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 10 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 11 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 12 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 13 of 14
Case 1:08-cr-00086-GLR   Document 1448   Filed 03/24/15   Page 14 of 14
